                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE


 UNITED STATES OF AMERICA                               )
                                                        )
                                                        )       No. 3:07-CR-27
 V.                                                     )       (PHILLIPS/GUYTON)
                                                        )
 JOSEPH MARK EATON                                      )


                           ORDER OF DETENTION PENDING TRIAL

                A detention hearing was held in this case on March 21, 2007. Robert Simpson,

 Assistant United States Attorney, was present representing the government, Gerald L. Gulley, Jr.,

 was present representing Joseph Mark Eaton. Before the hearing began, counsel for the defendant

 stated that the defendant wished to waive his right to a detention hearing at this time and reserve the

 right to have a hearing at a later date, if appropriate. Pursuant to the defendant signing a Waiver of

 Detention Hearing, the defendant shall be detained. 18 U.S.C. § 3142(f)(2)(B). The government

 stated they had no objections. The defendant was present and stated that he knew that he would

 remain in jail pending trial. For good cause, and by agreement of the defendant, this detention

 hearing is waived and the defendant is detained.

                The defendant is aware of his right to a prompt detention hearing and to require the

 government to meet its burden of proving that no conditions of release exist which will reasonably

 assure his appearance in court and the safety of the community. The defendant knows that if his

 detention hearing is waived that he will remain in custody while it is continued. The defendant

 acknowledged in open court that he understands his rights and the consequences of waiving his

 detention hearing.

                For good cause shown, the defendants request not to contest, and to waive the



Case 3:07-cr-00027-TWP-HBG             Document 21          Filed 03/22/07     Page 1 of 2      PageID
                                             #: 5
 detention hearing is hereby GRANTED.

              It is therefore ORDERED that:

              (1)   Defendant be detained.;

              (2)   Defendant be committed to the custody of the Attorney
                    General for confinement in a corrections facility separate, to
                    the extent practicable, from persons awaiting or serving
                    sentences or being held in custody pending appeal;

              (3)   Defendant be afforded reasonable opportunity for private
                    consultation with counsel; and

              (4)   On order of a court of the United States or on request of an
                    attorney for the government, the person in charge of the
                    corrections facility in which the defendant is confined
                    deliver the defendant to a United States marshal for the
                    purpose of an appearance in connection with any court
                    proceeding.


                                   ENTER:

                                          s/ H. Bruce Guyton
                                   United States Magistrate Judge




                                              -2-


Case 3:07-cr-00027-TWP-HBG        Document 21        Filed 03/22/07      Page 2 of 2   PageID
                                        #: 6
